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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO

Civil Action No. 22-cv-02175-MEH

CHRISTOPHER TUCK,

       Plaintiff,

v.

STEVEN D. NOWLIN, Sheriff, in his individual capacity,
JEFFREY COPELAND, Lieutenant, in his individual capacity,
JOHN HAYNES, Detective, in his individual capacity, and
MONTEZUMA COUNTY,

       Defendants.


                                              ORDER


Michael E. Hegarty, United States Magistrate Judge.

       Before the Court is Plaintiff’s “Unopposed Motion to Dismiss Third Claim” [filed

December 19, 2022; ECF 24]. Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), a plaintiff may dismiss

“an action” without a court order upon the filing of “a notice of dismissal before the opposing party

serves either an answer or a motion for summary judgment.” Although Rule 41 references

dismissal of an “action,” the rule permits “dismissal of all claims against a single defendant . . . .”

Paulson v. Two Rivers Water and Farming Co., No. 19-cv-02639-PAB-NYW, 2021 WL 2660789,

at *3 (D. Colo. June 29, 2021).

       Here, Plaintiff seeks to dismiss his Third Claim for Relief against Defendants pursuant to

Rule 41(a)(1)(A)(i) and filed a notice of dismissal. Therefore, the Third Claim for Relief against

Defendants is DISMISSED WITHOUT PREJUDICE.

       Dated and entered at Denver, Colorado, this 21st day of December, 2022.
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                                          BY THE COURT:




                                          Michael E. Hegarty
                                          United States Magistrate Judge




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